      Case 1:22-cr-00673-LAK         Document 529-1        Filed 10/29/24     Page 1 of 2




                                            October 29, 2024

Hon. Lewis A. Kaplan
United States District Court
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, New York 10007-1312

       Re: United States of America v. Nishad Singh (22 Cr. 673 (LAK))

Dear Judge Kaplan,

               I am the Chief Executive Officer of FTX Trading Ltd. and its affiliated debtors
and debtors-in-possession (collectively, “FTX” or the “Debtors”) in the chapter 11 cases (the
“Chapter 11 Cases”) now pending before Judge John T. Dorsey of the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”). I write on behalf of FTX in
connection with Nishad Singh’s sentencing, currently scheduled for October 30, 2024. As set
forth more fully below, Mr. Singh has provided the Debtors with valuable assistance and
cooperation. Mr. Singh also has agreed to provide further assistance and cooperation on an
ongoing and prospective basis.

Background

               I was appointed as CEO of FTX by Samuel Bankman-Fried during the early
morning hours of November 11, 2022 (the “Petition Date”) by his execution and delivery of the
Omnibus Corporate Authority attached to this letter as Exhibit A. I have over three decades of
experience in complex multi-national restructurings and asset recovery exercises, first as a
lawyer, as both external and internal counsel, and then leading the restructuring and asset
recovery efforts as the senior business person. Among the matters I have led include Enron,
Nortel Networks US, Overseas Shipholding Group and Residential Capital.

                I report to an independent and experienced board of directors comprised of
Matthew A. Doheny, Rishi Jain, Matthew R. Rosenberg and Mitchell I. Sonkin, each of whom
have decades of experience in complex restructurings and asset recovery exercises involving
such companies as MBIA, Residential Capital, Covanta Energy, USG, Yellow Corporation, and
Nortel Networks US, as well as the Honorable Joseph J. Farnan, Jr. (Ret.), the former chief judge
of the United States District Court for the District of Delaware and former United States
Attorney for the District of Delaware (collectively, the “Board”). Prior to the Petition Date,
neither I nor any of the Board members had any connection with FTX, Mr. Singh, or any of the
other leaders of FTX. Judge Dorsey has repeatedly found that both I and the Board are
independent and highly qualified to lead the Debtors.




                                               -1-
      Case 1:22-cr-00673-LAK          Document 529-1         Filed 10/29/24      Page 2 of 2




The FTX Bankruptcy and Mr. Singh’s Assistance

                Shortly following the Petition Date, on November 14, 2022, Mr. Singh
participated in a teleconference with the Debtors’ advisors during which he provided information
about FTX’s computer systems. Mr. Singh, through his counsel, has also assisted the Debtors’
advisors by answering questions and providing information relating to the Debtors’
investigations and adversary proceedings. Mr. Singh has, through his counsel, also made
substantial productions of documents to the Debtors in response to legal process. Mr. Singh has
also assisted the Debtors by voluntarily returning Bahamian real estate that was purchased with
Debtor funds. At the Debtors’ request, Mr. Singh voluntarily conveyed to the Joint Official
Liquidators of non-Debtor FTX Digital Markets Ltd. a property in the Bahamas that was
purchased in his name for approximately $1 million. In connection with the settlement of the
Debtors’ claims against him in Alameda Research Ltd. et al. v. Bankman-Fried et al., 23-50381
(JTD) (Bankr. D. Del. May 17, 2023), Mr. Singh also assisted the Debtors by relinquishing his
right and assigning to the Debtors assets held in his accounts at non-Debtor Embed Clearing
LLC. This enabled the Debtors to more efficiently wind up the business operations of Embed
Clearing LLC by ensuring that no custodied customer funds remained at Embed.

                As the Court may know, the Debtors filed an adversary proceeding in the
Bankruptcy Court against Mr. Singh and other former FTX insiders, including Mr. Bankman-
Fried, asserting claims for, among other things, breach of fiduciary, waste of corporate assets and
fraudulent transfers of estate assets. The Debtors are working to finalize a settlement with Mr.
Singh, subject to approval by the Bankruptcy Court, pursuant to which Mr. Singh will turn over
to the Debtors substantially all of his remaining assets after satisfying his forfeiture obligations,
and will provide ongoing cooperation, including by making himself available to testify as
needed, voluntarily providing documents and information, reviewing and clarifying documents,
locating and retrieving assets, and answering questions from the Debtors’ advisors. Given Mr.
Singh’s senior position within FTX prior to Chapter 11 Cases, his extensive knowledge of FTX’s
systems and processes, and his personal involvement in many key events and transactions, the
Debtors expect that his cooperation will continue to be important to maximize recovery for the
creditors.

                                                       Respectfully yours,



                                                       John J. Ray III




                                                 -2-
